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                              UNITED STATES DISTRICT COURT                              fF~LEU}
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION                                 OCT 13 2021
                                                                                    U. S. DISTRICT COURT
UNITED STATES OF AMERICA,                     )                                   EASTERN DISTRICT OF MO
                                                                                           ST. LOUIS
                                              )
                       Plaintiff,             )
                                              )
            V.                                )
                                              )     4:21CR564 JAR/DDN
JAMES MALONEY,                                )
                                              )
                       Defendant.             )

                                          INDICTMENT

                                              COUNTI

       The Grand Jury charges· that:

       On or about September 12, 2020, in the Eastern District of Missouri~ the def~ndant,

                                       JAMES MALONEY,

on an aircraft in the special aircraft jurisdiction of the United States, namely American Airlines
                 )

Flight #2892 flying from Charlotte, North Carolina, to Las Vegas, Nevada, did knowingly attempt

to interfere with the performance of the duties of Jarrod Miller, a flight crew member or flight

attendant of the aircraft, and lessen the ability of the member or attendant to perform those duties,

by intimidating the flight attendant or flight crew member, specifically by lunging at Jarrod Miller.
                                          i
In violation of Title 49 U.S.C. Section 46504.

                                                      A TRUE BILL.




                                                      FOREPERSON

SAYLER FLEMING
United States Attorney



COLLEEN C. LANG, #56872MO
Assistant United States Attorney
